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5    Attorney for Movant

6                          IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF ARIZONA
7
      In Re:                                               CHAPTER 7 PROCEEDING
8
      ALYSSA VICTORIA GONZALEZ,                            CASE NO: 2:19-bk-11132-EPB
9
              Debtor.
10
      HONDA LEASE TRUST, its successors                    NOTICE OF FILING OF MOTION FOR
11    and assigns as assignee of AMERICAN                  RELIEF FROM THE AUTOMATIC
      HONDA FINANCE CORPORATION                            STAY AND REQUIREMENT TO FILE
12                                                         RESPONSE
            Movant,
13

14    vs.

15    ALYSSA VICTORIA GONZALEZ,
      DEBTOR;
16    DINA ANDERSON, TRUSTEE,
       Respondents.
17

18
              NOTICE IS GIVEN that the above Movant has filed a Motion requesting relief from the
19
     automatic stay the details of which are as follows:
20
              Motor Vehicle generally described as a 2016 Honda Hr-V, vehicle identification number
21
     3CZRU6H52GM746384.
22
              PLEASE TAKE NOTICE, pursuant to 11 U.S.C. SECTION 362(d), Rules 4001 and
23
     9014 of the Fed. R. Bkrtcy. Proc., and Local Rule 4001.1 for the District of Arizona,
24
     AMERICAN HONDA FINANCE CORPORATION (“AHFC”) (hereinafter “Secured Creditor”),
25
     moves this Court for an Order Lifting Stay, or in the alternative an Order Granting Adequate
26
     Protection to Secured Creditor, with respect to certain property upon which Secured Creditor holds
27

28


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1
     a perfected interest.
2
             NOTICE IS FURTHER GIVEN, PURSUANT TO LOCAL RULE 4001-1(D), THAT
3
     IF NO WRITTEN OBJECTION IS FILED WITH THE COURT AND SERVED UPON
4
     SECURED CREDITOR’S COUNSEL, DESIGNATED ABOVE AND UPON THE
5
     CHAPTER 7 TRUSTEE WITHIN FOURTEEN DAYS OF SERVICE OF THIS MOTION,
6
     THE MOTION MAY BE GRANTED WITHOUT HEARING.
7
     DATED: September 18, 2019                          /s/ Charles L. Firestein, #002986
8                                                       Charles L. Firestein, Esq.
                                                        Attorney for Movant
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